






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00401-CR






Shane Allen Saunders, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 04-241-K368, HONORABLE BURT CARNES, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's second motion for extension of time to file brief is granted.  Appellant's
counsel, Ms. Patricia J. Cummings, is ordered to tender a brief in this cause no later than January 17,
2005.  No further extension of time will be granted.

It is ordered December 9, 2004.


Before Justices Kidd, B. A. Smith and Pemberton

Do Not Publish


